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 IT IS ORDERED as set forth below:



 Date: November 2, 2018
                                                    _____________________________________
                                                                James R. Sacca
                                                          U.S. Bankruptcy Court Judge

_______________________________________________________________




                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

  IN RE:                                        )       CHAPTER 13
                                                )
  MICHELE SMITH,                                )       CASE NO: 18-68420-JRS
                                                )
         Debtor/Movant                          )

                  ORDER ON MOTION FOR EXPEDITED HEARING

         The Motion for Expedited Hearing on the Motion to Impose the Automatic Stay is

  hereby GRANTED. It is hereby ordered that a hearing shall be held on November 5,

  2018, at 10:00 am in Courtroom 1404.

         Pursuant to BLR 9007-2, the attorney for the Debtor shall promptly transmit a

  copy of this Notice by mail on the appropriate parties and file a certificate of service with

  the Clerk’s office within one (1) business day from the date of entry of this Order.

                                   [END OF DOCUMENT]
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  Prepared by:

  _____/s/___________________
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